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                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         )
                                 )
                                 )
v.                               )       Case No. 21-cr-00195-CKK
                                 )
SALVADOR SANDOVAL, JR.           )
                                 )
                                 )
               Defendant         )
                                 )



     DEFENDANT SALVADOR SANDOVAL’S MOTION TO CONTINUE
                       SENTENCING


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      NOW COMES Defendant Salvador Sandoval by and through his counsel

of record William L. Shipley, Esp., and respectfully request this Honorable

Court to continue the current sentencing date and extend all filing deadlines.

      On January 23, 2023, Defendant Sandoval was found guilty by Judge

Thomas F Hogan of Count (1) Civil Disorder, Counts (2-5)

Assaulting/Resisting/Impeding Officers/Employees, Count (6) Tampering With

A Witness, Victim Or Informant, Counts (7-9) Temporary Residence Of The

President, and Counts (10-12) Violent Entry And Disorderly Conduct On

Capitol Grounds. See 12/15/2022 Minute Entry.

      On December 16, 2022, Judge Hogan set Defendant Sandoval’s

sentencing to take place on April 25, 2023. See 12/16/2022 Minute Entry.

      On January 4, 2023, this case was randomly reassigned to the

Honorable Colleen Kollar-Kotelly. See EFC. No. 106. This Court maintained

the April 25, 2023, sentencing date. See 01/09/2023 Minute Entry.

      Attorney Shipley was retained by Defendant Sandoval to handle the

sentencing in the above sited case, thus filed a notice of appearance on

February 27, 2023. See EFC. No. 110. Following Attorney Kutmus and Hook

filed a motion to withdraw. See EFC No. 111 and 112. This Court granted

both withdraws March 10, 2023. See 03/10/2023 Minute Entry.

      Attorney Shipley is set to begin trial in United States v. Christopher

Worrell 21-cr-00292- RCL on April 26, 2023. This case has been reset several

times due to Defendant Worrell’s medical conditions. The Honorable Judge

Lambert and both counsel for the government and defense want to ensure this

such trial moves forward as scheduled.



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      Such request comes to ensure adequate time is allotted to Defendant

Sandoval’s sentencing based on the need for Attorney Shipley to review al trial

materials including exhibits and transcripts and because Attorney Shipley is

set to begin another trial on April 26, 2023.

      Wherefore, Defendant Sandoval respectfully requests this Honorable

Court to continue the current sentencing and reschedule for April 25, 2023

and reset the dates for the sentencing memorandums and objections, if any, to

the United States Probation Office Presentence Investigation Report.



Dated: March 28, 2023                 Respectfully submitted,

                                      /s/ William L. Shipley
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